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 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                         SAN FRANCISCO DIVISION
 9

10
     UNITED STATES OF AMERICA,                            Case No. CR 16-510 SI
11
                     Plaintiff,                           [~]ORDER
12
13 v.

14 RANDALL STEVEN CURTIS,

15                   Defendant.

16

17
            For the reasons stated in open court on January 13 , 2017, and pursuant to the conditions
18
     contained in the bail bond executed at that same court appearance, IT IS HEREBY ORDERED that
19
     Randall Steven Curtis shall be released from the Glenn Dyer Detention Facility in Oakland, California,
20
     on Tuesday, January 17, 2017 at 9:00a.m.     Defendant is to report to Pretrial Services in San Jose, forthwith.
21

22
     IT IS HEREBY ORDERED.

23
             I- J~ - { 7
                                                          H~A-ELENA
24 Dated: ~.~~,~~~--~-----

25
                                                                                                JAMES
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